                                                                           DISTRICT OF OREGON
                                                                                FILED
                                                                                May 12, 2017
                                                                         Clerk, U.S. Bankruptcy Court



         Below is an Order of the Court.

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 5                                                       _______________________________________
                                                                   PETER C. McKITTRICK
 6                                                                 U.S. Bankruptcy Judge

 7
 8                              UNITED STATES BANKRUPTCY COURT

 9                                 FOR THE DISTRICT OF OREGON

10   In Re Peter Szanto                          Bankruptcy Case
                                                 No. 16-33185-pcm11
11
12                      Debtor.
13   Peter Szanto
                                                 Adv. Proc. No. 16-ap-3114
14                      Plaintiff,
15          v.                                   ORDER SETTING DEPOSITION SCHEDULE,
16                                               AMENDING SCHEDULING ORDER, DOC.
     EVYE SZANTO, VICTOR SZANTO, NICOLE          21, SETTING SUMMARY JUDGMENT
17   SZANTO, KIMBERLEY SZANTO, MARIETTE          HEARING AND SETTING FINAL PRETRIAL
     SZANTO, ANTHONY SZANTO, AUSTIN              CONFERENCE
18   BELL, JOHN BARLOW, and BARBARA
     SZANTO ALEXANDER,
19
                         Defendants.
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21
22        During the April 6, 2017 status hearing in the above-captioned

23   case, the parties indicated to the court that they were unable to agree

24   on the appropriate time and place for depositions in this case.                      The

25   court ordered that the parties submit their availability to the court

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     Page 1 - ORDER SETTING DEPOSITION SCHEDULE, AMENDING SCHEDULING ORDER,
     SETTING SUMMARY JUDGMENT HEARING AND SETTING FINAL PRETRIAL CONFERENCE



                           Case 16-03114-pcm   Doc 99   Filed 05/12/17
 1   and it would determine the deposition schedule and location.    For the

 2   reasons stated herein, pursuant to F. R. Bankr. P. 7030, and in the

 3   interest of justice and good cause appearing therefor,

 4        IT IS HEREBY ORDERED:

 5     1. Depositions of the named parties in this case will take place as

 6   follows:

 7        A. The depositions of Austin Bell and Kim Szanto Bell will take

 8          place on June 6, 2017, beginning at 9 a.m. and ending no later

 9          than 5 p.m.   Because plaintiff indicated that he would require

10          between one and three hours per deposition for these parties,

11          each deposition will be limited to no more than three hours.

12        B. The depositions of Evye Szanto and Mariette Szanto will take

13          place on June 7, 2017, beginning at 9 a.m. and ending no later

14          than 5 p.m.   Because plaintiff indicated that he would require

15          between one and three hours per deposition for these parties,

16          each deposition will be limited to no more than three hours.

17        C. The deposition of Victor Szanto will take place on June 8, 2017,

18          beginning at 9 a.m. and ending no later than 5 p.m.

19        D. The deposition of Nicole Szanto will take place on June 12,

20          2017, beginning at 9 a.m. and ending no later than 5 p.m.

21          Alternatively, at plaintiff’s option, he may take this

22          deposition on June 7, 2017 and extend the period for taking

23          depositions to 6 p.m. on that date. Plaintiff will notify

24          defendants’ counsel no later than May 19, 2017 whether this

25          deposition will occur on June 7, 2017 or June 12, 2017. Because

26
     Page 2 - ORDER SETTING DEPOSITION SCHEDULE, AMENDING SCHEDULING ORDER,
     SETTING SUMMARY JUDGMENT HEARING AND SETTING FINAL PRETRIAL CONFERENCE



                      Case 16-03114-pcm   Doc 99   Filed 05/12/17
 1          plaintiff indicated that he would require between one and three

 2          hours per deposition for this party, the deposition will be

 3          limited to no more than three hours.

 4        E. The deposition of Anthony Szanto will take place on June 13,

 5          2017, beginning at 9 a.m. and ending no later than 5 p.m.

 6        F. The deposition of Peter Szanto will take place on June 21, 2017,

 7          beginning at 9 a.m. and ending no later than 5 p.m.

 8   The deposition of Barbara Szanto Alexander will be scheduled by future

 9   order entered by this court.

10     2. Nothing in this order abrogates or augments the Federal Rules of

11   Civil Procedure governing discovery and made applicable to adversary

12   proceedings through the Federal Rules of Bankruptcy Procedure.

13     3. Because Plaintiff indicated to the court that he “received a death

14   threat” from one of the defendants and because plaintiff states that a

15   restraining order restraining contact between plaintiff and two of the

16   defendants has been entered by the Justice Court of Tahoe Township in

17   the State of Nevada makes his presence in Nevada impossible, all

18   depositions of the defendants will be taken by video conference.

19   Plaintiff should appear at the office of a court reporter located in

20   Portland, Oregon, the name and address of which will be provided by

21   defendants to plaintiff no later than May 30, 2017, or at another

22   location mutually agreed upon by the parties. The cost of video

23   conferencing is to be borne by defendants. Alternatively, at defendants’

24   option, the depositions may be taken in person at a location outside

25   Nevada to be mutually agreed upon by the parties. Defendants will notify

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     Page 3 - ORDER SETTING DEPOSITION SCHEDULE, AMENDING SCHEDULING ORDER,
     SETTING SUMMARY JUDGMENT HEARING AND SETTING FINAL PRETRIAL CONFERENCE



                      Case 16-03114-pcm   Doc 99   Filed 05/12/17
 1   plaintiff no later than May 19, 2017 if they wish to exercise this

 2   option.

 3     4. The deposition of plaintiff will be taken at the United States

 4   Bankruptcy Court, 1001 SW 5th Avenue, 7th Floor, Portland, Oregon 97204.

 5     5. As required under F. R. Bankr. P. 7030, making applicable F. R.

 6   Civ. P. 30, the noticing party bears the costs of recording.

 7     6. The parties must complete discovery no later than July 31, 2017.

 8     7. Any motions for summary judgment must be filed no later than August

 9   15, 2017.    Any responses must be filed no later than August 29, 2017.

10   Any replies must be filed no later than September 12, 2017.

11        Unless otherwise ordered by the court, any opposition to the

12   motion, and any reply, must be filed and must comply with Local

13   Bankruptcy Rules 7056-1 and 7007-1.      There will be no further briefing

14   beyond that specified in the rules, or by court order, except upon

15   written motion for leave of the court stating the reasons for the

16   motion, and an order thereon.

17        Any objections to the admissibility of the contents of supporting

18   documents submitted with the original motion or the opposition brief

19   shall be raised in the opposition and reply briefs, respectively.

20   Objections to the admissibility of the contents of supporting documents

21   submitted with the reply brief shall be made within seven (7) days after

22   the filing of the reply brief.     See Bankruptcy Rule 7056-1; Fed. R. Civ.

23   P. 56 (c).

24        The parties should not assume that the court will search the record

25   to determine whether there are any issues of fact.           If the party

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     Page 4 - ORDER SETTING DEPOSITION SCHEDULE, AMENDING SCHEDULING ORDER,
     SETTING SUMMARY JUDGMENT HEARING AND SETTING FINAL PRETRIAL CONFERENCE



                        Case 16-03114-pcm   Doc 99   Filed 05/12/17
 1   opposing summary judgment asserts that there are questions of fact, it

 2   must refer the court to specific portions of the record that support its

 3   assertion.

 4     8. A hearing on any motions for summary judgment filed will be held on

 5   September 26, 2017 at 9:30 a.m. at the United States Bankruptcy Court,

 6   Courtroom #1, 1001 SW 5th Avenue, 7th Floor, Portland, Oregon 97204.

 7     9. Except as amended herein, the Scheduling Order, Doc. 21, entered in

 8   this case remains in full force and effect.

 9     10.     A final pretrial hearing will be held on October 24, 2017 at

10   9:30 a.m. at the United States Bankruptcy Court, Courtroom #1, 1001 SW

11   5th Avenue, 7th Floor, Portland, Oregon 97204.

12     11.     No requests for extension or setover will be granted absent

13   extreme circumstances.   Any request for setover or extension must be

14   made in writing, accompanied by a declaration setting out the

15   circumstances compelling an extension or setover.

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     Page 5 - ORDER SETTING DEPOSITION SCHEDULE, AMENDING SCHEDULING ORDER,
     SETTING SUMMARY JUDGMENT HEARING AND SETTING FINAL PRETRIAL CONFERENCE



                       Case 16-03114-pcm   Doc 99   Filed 05/12/17
